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                        EIC   Applications   by ZIP Code as of

                                     10212013




75081                          1


75180                          1


75203                          1


75211                          1


75214                          1


75215                          2


75216                          2


75234                          1


75241                          1


75243                          1


75605                          4

75701                          1


75702                          3


75766                          1


75771                          1


75803                          1


75839                          1


76001                          1


76006                          1


76021                          1


76084                          1


76104                          1


76105                          2

76107                          1


76116                          1


76134                          1


76180                          1


76550                          1


77016                          2

77021                          1


77029                          1


77036                          1


77065                          1


77093                          1


77096                          1


77099                          2

77389                          1

                                                         2:13-cv-193
                                                                       exhibitsticker.com




77446                          2
                                                         09/02/2014

                                                        DEF1466


                                                                                            TEX0507602
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77550                       1


77640                       1


77868                       1


78040                       1


78043                       2

78046                       1


78389                       1


78521                       1


78538                       1


78550                       1


78552                       1


78572                       1


78596                       3


78723                       1


78732                       1


78801                       1


78839                       1


79549                       1


79720                       2

79905                       1


79912                       1


79935                       1


blank
Grand Total                75




                                                                             TEX0507603
